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                          UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF MICHIGAN


  MICHIGAN PROTECTION &
  ADVOCACY SERVICE, INC.

                                        Plaintiff,
                                                                Case No. 2:09-CV-10877
  v.                                                            Hon. Nancy G. Edmunds

  SPECTRUM HUMAN SERVICES, ROGER
  SWANINGER and SPECTRUM JUVENILE
  JUSTICE SERVICES

                          Defendants.
  ______________________________________/

  Michigan Protection & Advocacy Service, Inc.                Berry Moorman PC
  Chris E. Davis (P52159)                                     James P. Murphy (P36728)
  29200 Vassar Blvd., Suite 200                               Thomas M. Sullivan (P21154)
  Livonia, MI 48152                                           535 Griswold St., Ste 1900
  Phone: (248) 473-2990                                       Detroit, MI 48226
  Email: cdavis@mpas.org                                      Phone: (313) 496-1200
  Attorney for Plaintiff                                      Attorneys for Defendants
  _____________________________________/


                               STIPULATION TO DISMISS

         The parties to this matter, through their respective counsel, have reached a

  settlement covering issues involved in this matter and hereby stipulate to the dismissal of

  this case without prejudice and further stipulate that each party is to pay its own costs and

  attorney fees.

  s/Chris E. Davis                                      s/James P. Murphy with permission
  Chris E. Davis (P52159)                               James P. Murphy (P36728)
  Attorney for Plaintiff                                Attorney for Defendants
  Michigan Protection & Advocacy Service, Inc.          Berry Moorman PC
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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN

  MICHIGAN PROTECTION &
  ADVOCACY SERVICE, INC.

                                       Plaintiff,
                                                                Case No. 2:09-CV-10877
  v.                                                            Hon. Nancy G. Edmunds

  SPECTRUM HUMAN SERVICES, ROGER
  SWANINGER and SPECTRUM JUVENILE
  JUSTICE SERVICES

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  Email: cdavis@mpas.org                                       Phone: (313) 496-1200
  Attorney for Plaintiff                                       Attorneys for Defendants
  _____________________________________/


                                  ORDER TO DISMISS

         This matter having come before the Court by stipulation of the parties, and the
  Court otherwise being fully advised in the premise:

          IT IS ORDERED this matter is dismissed without prejudice.

          IT IS FURTHER ORDERED that each party is to pay its own costs and attorney
  fees.



                                s/Nancy G. Edmunds
                                Nancy G. Edmunds
                                United States District Judge

  Dated: August 7, 2009
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  I hereby certify that a copy of the foregoing document was served upon counsel of record
  on August 7, 2009, by electronic and/or ordinary mail.

                               s/Carol A. Hemeyer
                               Case Manager
